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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION


ANGELA BAGGETT,

               Plaintiff,                               Hon. Sally J. Berens

v.                                                      Case No. 1:23-cv-85

PAUL BAILEY, et al.,

            Defendants.
____________________________________/

                                           ORDER

        In accordance with the Opinion entered today,

        IT IS HEREBY ORDERED that Defendants’ Motion for Summary Judgment (ECF No.

27) is GRANTED. Plaintiff’s Complaint is dismissed with prejudice.

        This case is concluded.


Dated: March 20, 2024                                    /s/ Sally J. Berens
                                                        SALLY J. BERENS
                                                        U.S. Magistrate Judge
